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   Urban Commons 6th Ave Seattle, LLC
 c o Taylor Woods and Howard Wu
 10250 Constellation Boulevard, Suite 1750
 Los Angeles, CA 90067
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   Docket Text:
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   PLAINTIFFS' MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT by
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